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JLG:VC

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X
                                                         Filed Under Seal
UNITED STATES OF AMERICA
                                                         AFFIDAVIT AND
            - against -                                  COMPLAINT IN SUPPORT
                                                         OF AN APPLIC ATION FOR
MICHAEL FAZIO,                                           AN ARREST WARRANT

                          Defendant.                     (18 U.S.C. §§ 2252(a)(2) and 2252(b)(1))

---------------------------X                             Case No. 25-MJ-174

EASTERN DISTRICT OF NEW YORK, SS:

               Debra Gerbasi, being duly sworn, deposes and states that she is a Special Agent

with the United States Department of Homeland Security, Homeland Security Investigations,

duly appointed according to law and acting as such.

                            Receipt and Distribution of Child Pornography

               On or about the dates and times set forth below, within the Eastern District of

New York and elsewhere, the defendant MICHAEL FAZIO did knowingly and intentionally

receive and distribute one or more visual depictions, to wit: the digital images depicted in the

following computer files:

  Count          Approximate Date and Time                              File Name
   ONE           October 16, 2024 at 19:15 UTC                         !!11rape.jpg
   TWO           October 16, 2024 at 19:15 UTC                    !!7yr_gets_licked.jpg
  THREE          October 16, 2024 at 19:14 UTC                ! # #1 #1 10 year spreads.jpg

using a means and facility of interstate and foreign commerce, which visual depictions had been

mailed, and had been shipped and transported in and affecting interstate and foreign commerce,

and which contained materials which had been mailed and so shipped and transported, by any
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means including by computer, the production of such visual depictions having involved the use

of one or more minors engaging in sexually explicit conduct, and such visual depictions were of

such conduct.

                (Title 18, United States Code, Sections 2252(a)(2) and 2252(b)(1))

                The source of your deponent’s information and the grounds for her belief are as

follows:

                1.     I am a Special Agent with the United States Department of Homeland

Security, Homeland Security Investigations (“HSI”). I have been a Special Agent with HSI, and

its predecessor agencies, since 2002, and am currently assigned to the Child Exploitation

Investigations Unit (“CEI”). As a Special Agent of HSI-CEI, I investigate criminal violations

relating to the sexual exploitation of children, including the illegal production, distribution,

transportation, receipt, and possession of child pornography. I have received extensive training

regarding the investigation of child exploitation offenses, and have gained expertise in these

types of investigations through training in classes and seminars, and through my daily work

related to conducting these investigations and assisting in the prosecutions of these offenses. I

have been involved in numerous investigations concerning the illegal possession, receipt and

distribution of child pornography and child sexual abuse material (“CSAM”), and am familiar

with the tactics used by individuals who collect and distribute child pornographic material. As

part of my responsibilities, I have reviewed thousands of photographs and videos depicting

minors (less than eighteen years of age) being sexually exploited by adults.

                2.     I am familiar with the facts and circumstances set forth below from my

participation in this investigation, including the execution of a search and seizure warrant; from




                                                  2
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my review of the investigative file, including the images described herein; and from

conversations with and reports of other law enforcement officers involved in the investigation.1

               3.      On October 17, 2024, the National Center for Missing and Exploited

Children (“NCMEC”)2 received a CyberTipline report from Dropbox, Inc. (“Dropbox”),3

which stated, in substance and in relevant part, that on or about October 16, 2024, a certain

Dropbox account bearing the screenname “Mike Fazio” – later determined to belong to the

defendant, MICHAEL FAZIO, as described further herein – had uploaded three files containing

child pornography. I have reviewed these three files, which are digital images, and they are

described as follows, in substance and in relevant part:

               a.      A file entitled “!!11rape.jpg” and info hash value of

357bebc6afca5fe5df6500360e5102e6, which depicts an image of a prepubescent female,

approximately 7 to 11 years of age, fully naked and on all fours, who appears as if she is being

penetrated from behind by a kneeling adult male. The adult male, who is naked from the waist

down and wearing a green shirt, is reaching around the child’s waist with one hand and touching

the child about her pubic region.

               b.      A file titled “!!7yr_gets_licked.jpg” and info hash value of



       1
               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
       2
               NCMEC is a private, non-profit organization founded by Congress in 1984.
Among its many functions, NCMEC receives tips regarding missing, abducted or sexually
exploited children. NCMEC maintains a “CyberTipline” to receive complaints from Internet
service providers, electronic service providers, and others. NCMEC analysts will review
CyberTipline reports and forward them to the appropriate law enforcement agency for further
investigation.
       3
                Dropbox is a publicly available Internet platform file hosting service that can be
used to store and share electronic files.
                                                 3
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c03735a52307425b1b5026ba7ac858a9, which depicts a fully naked adult male lying supine on a

bed with his legs up and knees bent, performing oral sex on a fully naked prepubescent female,

approximately 7 to 11 years of age, who is sitting on the adult male’s chest with her back

reclined against the adult male’s legs.

               c.      A file titled “! # #1 #1 10 year spreads.jpg” and info hash value of

4fa5e0ba0874cecfae7783d2d3423b16, which depicts a prepubescent female, approximately 7 to

11 years of age, lying fully naked on her back on the grass, holding her legs up in the air and

spread apart with her hands behind her knees, fully exposing her vagina and anus.

               4.      The Dropbox CyberTipline report also included three Internet Protocol

(“IP”) addresses, from which the Dropbox account was accessed on the date and time that each

of the three images described above were uploaded. Based on my review of documents and

records provided by Verizon, the service provider for these three IP addresses, I have learned, in

substance and in relevant part, that the Verizon account is subscribed to the residential address of

the defendant MICHAEL FAZIO. Furthermore, based on my review of additional documents

and records obtained from Dropbox pertaining to the Dropbox account described above, I have

learned, in substance and in relevant part, that the email address associated with the Dropbox

account is subscribed to FAZIO.

               5.      On or about April 30, 2025, I and other law enforcement agents and

officers executed a judicially-authorized federal search and seizure warrant4 on the residence and

person of the defendant MICHAEL FAZIO, including any and all electronic devices belonging

to FAZIO.




       4
              The warrant was stamped 25-MJ-155, and was authorized by U.S. Magistrate
Judge Steven I. Locke on April 28, 2025.
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